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                                    Exhibit A
                            Declaration of Kelly Toney




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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                           §
In re:                                                     § Chapter 7
                                                           §
ALEXANDER E. JONES                                         §
                                                           § Case No. 22-33553 (CML)
                 Debtor.                                   §
                                                           §

DECLARATION OF KELLY D. TONEY IN SUPPORT OF TRUSTEE’S APPLICATION
       TO EMPLOY TRANZON AND TRANZON360 AS SALE BROKER
        I, Kelly D. Toney, declare and state under penalty of perjury pursuant to 28 U.S.C. § 1747
that the following is true and correct to the best of my personal knowledge:
        1.      I have been a licensed auctioneer and a real estate salesman/broker in Texas since
1992. I have conducted numerous commercial real estate transactions and commercial asset
liquidations. I am a member of the National Auctioneers Association, Certified Auctioneers
Institute, Texas Auctioneers Association, National Association of Realtors, Texas Association of
Realtors, Houston Association of Realtors, and a past Board of Directors member for the Houston
Turnaround Management Association.
        2.       I am the Executive Vice President of Tranzon Asset Advisors (“Tranzon”), a
company that specializes in marketing and conducting real estate and personal property sales for
bankruptcy estates. For purposes of this engagement, Tranzon and ThreeSixty Asset Advisors
(“ThreeSixty”) (collectively, “Tranzon360”) have entered a joint venture1 to market, auction and
sell the intellectual and personal property described in the Trustee’s motion to employ Tranzon
and Tranzon360 to sell the properties at auction. In addition, Tranzon is engaged in its sole
capacity to sell certain real property interests as well.
        3.      After having reviewed the creditors’ matrices in the above bankruptcy case and the
Free Speech Systems, LLC (“FSS”) bankruptcy case, to the best of my knowledge, information,
and belief, I, Tranzon, its members and associates, are disinterested persons within the meaning of
11 U.S.C. § 101(13) and are eligible to serve as auctioneers for the Debtor’s estate and assets the
Trustee administers pursuant to the provisions of 11 U.S.C. § 327(a). To the best of my knowledge,
I and Tranzon, represent no interest adverse to the Debtor’s estate or FSS in the matters upon which
Tranzon and Tranzon360 is to be engaged by the Trustee.
      4.     In compliance with FED. R. BANKR. P. 2014, I verify that, to the best of my
knowledge, except as may be disclosed herein, neither I, nor Tranzon, have any connections with



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    The marketing, auction, and sale of the intellectual property assets and personal property is undertaken as a joint
    venture between Tranzon and ThreeSixty and the marketing, auction, and sale of the real property is undertaken
    in Tranzon’s sole capacity.


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the Debtor or FSS, any other party in interest, their respective attorneys and accountants, or any
person employed by the Debtor or FSS.
       5.     I further state that I have not served as examiner in these cases and have not to my
knowledge been employed by or connected with any person having an interest adverse to the
Debtor or FSS or to any of the general creditors of the Debtor’s estate or FSS.
      I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information, and belief.


Executed this 18th day of August 2024.




                                                    DECLARANT:


                                                    _____________________________
                                                    KELLY D. TONEY




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